
977 A.2d 1016 (2009)
410 Md. 125
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Christopher K. VARES, Respondent.
Misc. Docket AG No. 23 September Term, 2006.
Court of Appeals of Maryland.
August 14, 2009.

ORDER
This matter previously came before the Court on a Petition for Disciplinary or Remedial Action filed by the Attorney Grievance Commission of Maryland pursuant to Maryland Rule 16-771. On October 31, 2006, this Court entered an Order suspending Christopher K. Vares, Respondent, effective immediately, from the practice of law in this State subject to further order of this Court.
Now before the Court is the parties' Joint Petition for Indefinite Suspension by Consent, wherein they agree the respondent should remain suspended indefinitely as the final disposition of the disciplinary or remedial action filed under Rule 16-771. Having considered said joint petition, it is this 14th day of August, 2009,
ORDERED, by the Court of Appeals of Maryland, that Christopher K. Vares shall remain suspended indefinitely from the practice of law in this State; and it is further
ORDERED, that this order constitutes the final disposition of this disciplinary or remedial proceeding.
